
673 S.E.2d 128 (2009)
Dudley J. EMICK and Martha E. Emick, Plaintiff
v.
SUNSET BEACH &amp; TWIN LAKES, INC., Edward M. Gore, Dinah E. Gore, and Town of Sunset Beach, Defendants and Third-Party Plaintiffs
v.
Ronald Ernest Cohn, et als., Third-Party Defendants.
No. 19P09.
Supreme Court of North Carolina.
February 5, 2009.
Dudley J. Emick, Pro Se, for Dudley &amp; Martha Emick.
Roy D. Trest, Calabash, for Sunset Beach, et al.
Mack L. Hewett, Shallotte, for Samuel Varnum.

ORDER
Upon consideration of the petition filed on the 12th day of January 2009 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
